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                                UNITED STATES DISTRICT COURT
                                 DISTRICT OF MASSACHUSETTS


 UNITED STATES OF AMERICA

                                                     No. 19-cr-10081-IT
            v.

 WILLIAM FERGUSON

             Defendant


                                      JOINT MOTION TO SEAL

            Under Local Rule 7.2, the United States and Defendant William Ferguson respectfully

move jointly for leave to file under seal a joint motion and accompanying exhibit for review by the

Court. As grounds for this motion, the parties state that the motion and exhibit involve an issue

regarding trial of this matter solely with respect to Defendant Ferguson. The parties submit that if

the Court grants the motion, then the motion, exhibit and any associated filings may be unsealed,

unless the Court should order otherwise.

                                                Respectfully submitted,

                                                NATHANIEL R. MENDELL
                                                Acting United States Attorney

                                        By:     /s/Kriss Basil
                                                KRISTEN A. KEARNEY
                                                LESLIE A. WRIGHT
                                                KRISS BASIL
                                                Assistant United States Attorneys




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                                 CERTIFICATE OF SERVICE

        I hereby certify that this document filed through the ECF system will be sent
electronically to the registered participants as identified on the Notice of Electronic Filing (NEF)
and paper copies will be sent to those indicated as non-registered participants .

                                              /s/Kriss Basil
                                              KRISS BASIL
                                              Assistant United States Attorney


Date: September 15, 2021




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